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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



                                            :
                                            :
 IN RE: Paragard IUD Products               :          CIVIL ACTION NO.
 Liability Litigation                       :          1:20-md-02974-LMM
                                            :
 This document relates to all cases         :
 referenced in tables in Part IV, below     :
                                            :
                                            :
                                            :



                                        ORDER

       This multi-district litigation (“MDL”) involves the contraceptive Paragard,

an intrauterine device (“IUD”), which is regulated as a drug under the Federal

Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 301 et seq., and the federal

Food and Drug Administration’s (“FDA”) implementing regulations in Title 21 of

the Code of Federal Regulations. Dkt. No. [79] at 1 & ¶¶ 30, 51, 72, 85.1 The

matter is presently before the Court on Defendants’ Motion to Dismiss Cases

Barred by Certain Statutes of Limitations and Repose. Dkt. No. [709].

       Plaintiffs have filed a master response brief in opposition to the motion,

Dkt. No. [729], and a number of individual plaintiffs have exercised their right to


       1       The Second Amended Master Personal Injury Complaint, Dkt. No. [79], is
the operative master complaint in this matter. For simplicity’s sake, the Court will refer
to it as “the master complaint.”
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file a supplemental response. Defendants have also filed a master reply brief in

support of the motion to dismiss, Dkt. No. [743], and replies to the individual

responses. After due consideration, the Court enters the following order.

I.     BACKGROUND

       A.     Facts2

       Paragard is a non-hormonal, non-surgical IUD that is placed into a

woman’s uterus by a healthcare provider. Dkt. No. [79] ¶¶ 30-31. It is composed

of copper wire wrapped around a T-shaped plastic frame. Id. ¶ 31. The copper is

intended to produce an inflammatory reaction that disrupts sperm transport and

egg fertilization and prevents the woman from getting pregnant. Id. A thin thread

tied through the tip of each Paragard is intended to aid in the easy detection and

non-surgical removal of Paragard from a woman’s body. Id.

       Each Plaintiff in this MDL is a woman who had a Paragard break while it

was still inside her body. Id. ¶¶ 11, 14, 148, 150. Plaintiffs allege that Paragard is

prone to break inside a woman’s body, partly because the product is insufficiently

flexible. Id. ¶ 52. Unlike other IUDs, “Paragard’s arms have no curvature and are

fixed, straight plastic arms bonded to [a] plastic vertical post,” which results in a

less flexible product. Id. ¶¶ 51, 62. Plaintiffs contend that this unique, rigid,

T-shaped design is prone to snap at the arms, causing Paragard to break more




       2       For the purposes of this order, the Court accepts as true the well-pleaded
facts alleged Plaintiffs’ pleadings and construes all reasonable inferences from those
facts in favor of Plaintiffs. See infra Part II.

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than any other IUD on the market in the United States. Id. ¶¶ 51, 53, 62. Plaintiffs

state that the inflexibility is also partly caused by the raw plastic not meeting

minimum flexibility requirements. Id. ¶¶ 37, 54. Plaintiffs allege that because of

these flaws, Paragard breaks in the body before or during removal and has caused

their injuries. Id. ¶¶ 14, 62, 150-54.

      Plaintiffs further allege that Defendants knew or should have known that

Paragard could cause and did cause serious harm to women due to its propensity

to break in utero or during removal but that Defendants failed to adequately warn

of these risks. Id. ¶¶ 64-69. Specifically, Plaintiffs aver that between 2009 and

2020, Defendants received reports of over 2000 Paragard breaks, which should

have put them on notice of disproportionally frequent breakage, but that

Defendants failed to properly investigate, record, or submit those reports to the

FDA and failed to amend the label to warn (1) that Paragard is prone to break,

including during removal, even when it is neither embedded in nor has

perforated the uterus; (2) that such breakages occur frequently; and (3) that

severe injuries—including infertility—can result from such breakages. Id. ¶¶ 6, 7,

68-70, 78-81, 97-102, 120-21. They also contend that Defendants undertook a

concerted marketing campaign to promote Paragard as a safe, effective, and

easily reversible form of non-surgical birth control. Id. ¶¶ 9, 30, 75-77.

      Plaintiffs additionally allege that they suffered injuries from Paragard’s

manufacturing defects, which resulted from Defendants’ failure to comply with




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current good-manufacturing practices and their own standard operating

procedures. Id. ¶¶ 129-47.

      B.     Procedure

      Plaintiffs assert sixteen causes of action in the master complaint: Strict

Liability—Design Defect (Count I); Strict Liability—Failure to Warn (Count II);

Strict Liability—Manufacturing Defect (Count III); Negligence (Count IV);

Negligence—Design & Manufacturing Defect (Count V); Negligence—Failure to

Warn (Count VI); Fraud & Deceit (Count VII); Fraud by Omission (Count VIII);

Negligent Misrepresentation (Count IX); Breach of Express Warranty (Count X);

Breach of Implied Warranty (Count XI); Violation of Consumer Protection Laws

(Count XII); Gross Negligence (Count XIII); Unjust Enrichment (Count XIV);

Punitive Damages (Count XV); and Loss of Consortium (Count XVI). Id. at 49-

104. Each plaintiff has also filed a short-form complaint in her individual case, in

which she incorporates the master complaint by reference and asserts, among

other things, which of the claims in the master complaint she adopts; the state

where she lived when her Paragard was placed, the state where she lived when

her Paragard was removed, and the state where she lived when the complaint was

filed; whether her Paragard was broken upon removal; what injuries she is

claiming; whether she is claiming tolling or fraudulent concealment; and any

facts or legal basis for tolling or fraudulent concealment beyond the facts alleged

in the master complaint. See Dkt. No. [129-1]. Each plaintiff has additionally




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served upon Defendants a “Plaintiff Fact Sheet” (“PFS”) detailing her claims and

providing other basic information. See Dkt. No. [331].

      Defendants now move under Rule 12(b)(6) of the Federal Rules of Civil

Procedure for dismissal or partial dismissal of a couple of hundred cases they

contend “are indisputably time-barred as a matter of law on their face.” Dkt.

No. [709]. Defendants divide the cases into three general groups: (1) cases where

state law would apply a statute of limitations commencing on the date of injury,

which Defendants assert is no later than the date of the latest removal surgery;

(2) cases where the state law provides a statute of repose that would bar the

plaintiffs’ claims in their entirety; and (3) cases where state law provides a statute

of repose that would bar the strict-liability claims. Id. at 2.

      Plaintiffs oppose the motion. They first argue that the Court should not

consider the motion because it is untimely, is a waste of the MDL court’s

resources, and presents impermissible choice-of-law and fact questions. They

further argue that if the Court does consider the motion to dismiss, the motion

should fail because Plaintiffs’ allegations of fraudulent concealment toll the

limitations periods or estop Defendants from raising the limitations defenses;

Plaintiffs’ claims are not facially time-barred because neither the master

complaint nor the short-form complaints allege when they were injured; and

Defendants have misapplied the relevant statutes. Some plaintiffs also argue that

the Court should deny Defendants’ motion with regard to their cases because the




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motion relies on erroneous quotations of their individual complaints or on facts

outside the pleadings.

II.   LEGAL STANDARD

      Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a

“short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). While this pleading standard does not require

“detailed factual allegations,” the Supreme Court has held that “ ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not

do.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)).

      To withstand a Rule 12(b)(6) motion to dismiss, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’ ” Id. (quoting Twombly, 550 U.S. at 570). “Plausibility”

requires more than a “sheer possibility that a defendant has acted unlawfully” or

the “mere possibility of misconduct,” and a complaint that alleges facts that are

“merely consistent with” liability “stops short of the line between possibility and

plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678-79 (quotation marks

omitted). A complaint is plausible on its face when the plaintiff pleads factual

content necessary for the court to draw the reasonable inference that the

defendant is liable for the conduct alleged. Id. (citing Twombly, 550 U.S. at 556).

In other words, the well-pleaded allegations in the complaint must contain




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factual allegations sufficient to “nudge[] [a party’s] claims across the line from

conceivable to plausible.” Twombly, 550 U.S. at 570.

       At the motion-to-dismiss stage, “ ‘all well-pleaded facts are accepted as

true, and the reasonable inferences therefrom are construed in the light most

favorable to the plaintiff.’ ” FindWhat Inv’r Grp. v. FindWhat.com, 658 F.3d

1282, 1296 (11th Cir. 2011) (quoting Garfield v. NDC Health Corp., 466 F.3d 1255,

1261 (11th Cir. 2006)). However, this principle does not apply to legal conclusions

set forth in the complaint. Iqbal, 556 U.S. at 678.

III.   DISCUSSION

       Defendants’ motion and Plaintiffs’ responses present several overarching

issues that bear addressing before the Court considers the state-by-state

arguments.

       A.    Procedural Bars to Motion

       Because it presents a threshold matter, the Court first considers Plaintiffs’

argument that the Court should not take up the motion to dismiss because it is

untimely and a waste of MDL resources. Plaintiffs argue that, given that the Court

already denied a motion to dismiss the master complaint, the present motion

amounts to an impermissible second bite at the apple. Dkt. No. [729] at 14-17.3

Plaintiffs also note that the purpose of assigning cases to multidistrict litigation is




       3      Where a brief’s original page numbering differs from the numbering
assigned by the Court’s electronic filing system, the Court will use the page numbers
assigned by its electronic filing system.

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to promote efficiency through the coordination of discovery and not to resolve

plaintiff-specific issues. Id. at 19-21. Plaintiffs further point out that, to that end,

the Court has entered a choice-of-law order which mandates that “[n]o party may

file a motion that requires the Court to resolve the issue of what law applies to a

particular case until after the completion of the initial [b]ellwether trials, except

in cases where the applicable law is not reasonably in dispute.” Id. at 18 (citing

Dkt. No. [675] ¶ 4).

      The Court is mindful of these issues. Nevertheless, the Court finds that the

motion is timely and is likely to move the case forward as a whole. It is true, as

Plaintiffs point out, that the motion to dismiss is largely case-specific. However, it

is because the motion is case specific—in that it is filed in response to disclosures

made in the short-form complaints—that the Court does not find it duplicative of

the motion to dismiss the master complaint. It also appears that Defendants’

motion is, for the most part, crafted narrowly so that it seeks dismissal of a

limited number of categories of cases based on common questions of law. Thus,

the Court finds it likely that a relatively small investment of its time may pay

dividends in enabling the parties to better value the case prior to investment in

bellwether trials.

      B.     Pinpointing the Time of Claim Accrual

      The next universal issue is whether, at this point in the case, it is possible

to pinpoint the time Plaintiffs’ injuries accrued. In large part, Plaintiffs’

arguments against dismissal for untimely filing rest on their contention that


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Defendants make improper factual assumptions in determining the dates

Plaintiffs’ personal-injury claims accrued. Plaintiffs contend that Defendants are

impermissibly attempting to substitute “breakage” for “injury”: that Paragard

breakage is the signature defect, but that the master complaint states that for

many women, the injury is the resulting surgery or hysterectomy, and thus that

the motion to dismiss must be denied because the individual injury date has not

been established. Dkt. No. [729] at 25-26.

      The Court does not find merit in the contention. The Court is well aware of

its obligation to view the pleadings and the inferences drawn therefrom in the

light most favorable to Plaintiffs. However, that obligation only extends so far as

the inferences may be reasonably drawn from the allegations. Iqbal, 556 U.S. at

678; Twombly, 550 U.S. at 556.

      According to the master complaint, each plaintiff’s Paragard was already

broken at the time of removal: “Plaintiffs’ Paragard broke inside their bodies,

including, but not limited to, during routine removal, causing complications and

injuries to Plaintiffs, including but not limited to, surgeries to remove the broken

piece of device, infertility, and pain.” Dkt. No. [79] ¶ 150 (emphasis added).

Plaintiffs also clearly allege in the master complaint that the injuries resulted

from the Paragard breakage: that Paragard is prone to snap at the arms, that it

thus breaks more than any other IUD on the market in the United States, and

that Plaintiffs were injured by their broken Paragards. Dkt. No. [79] ¶¶ 51, 53,




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62, 150. The injury-causing malfunction thus had already taken place and

inflicted injury by the time the Paragard was removed from the woman’s body.

      Where there was more than one removal procedure, at least the second

medical intervention to remove the broken Paragard—a medical intervention that

would not otherwise have been necessary—amounts to a manifest, present injury.

Where there was only one Paragard removal, there is no reasonable dispute that

the first injury would have taken place by the time of that removal: it would defy

logic to find that a broken Paragard may not have inflicted medically

ascertainable injuries until after it had already been removed from the woman’s

body. The Court will evaluate the untimeliness arguments accordingly.

      C.    Tolling / Estoppel

       Another near-universal issue is whether Plaintiffs pleaded facts

establishing fraudulent concealment, thereby justifying the application of tolling

or equitable estoppel to statutes of limitations or repose that would otherwise

render claims untimely. See Dkt. No. [729] at 24-25. On this issue, Plaintiffs have

the better argument.

      The Court found in its order denying the motion to dismiss the master

complaint that Plaintiffs had adequately pleaded fraud, including Defendants’

allegedly false representations to the public, the medical community, Plaintiffs,

and their physicians. Plaintiffs allege in the master complaint that Defendants

misrepresented in vehicles including product labels, “websites, information

presented at medical and professional meetings, information disseminated by


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sales representatives to physicians and other medical care providers, professional

literature, reports, press releases, advertising campaigns, television commercials,

print advertisements, and other commercial media” that Paragard was safe and

effective, when Defendants were in a unique position to know otherwise based on

reports of more than 2000 Paragard breaks and testing results indicating

elevated risk of adverse events. Dkt. No. [235] at 13-20 (citing, inter alia, Dkt.

No. [79] ¶¶ 72-73, 76, 100-02, 112-21, 292, 300). Plaintiffs have also pleaded that

Defendants engaged in deception by failing to comply with established

procedures for reporting adverse events to the FDA and instead concealing them.

Id. ¶¶ 121, 125-27. Simply put, viewing the pleadings in the light most favorable to

Plaintiffs, there is enough to enable a reasonable finder of fact to conclude that

Defendants intentionally lied in order to delay Plaintiffs’ discovery of their

claims. That said, by the date of the first Paragard removal, it was no longer

necessary for Plaintiffs to rely on Defendants’ omissions and false

representations, as the pleadings indicate that each plaintiff had knowledge by

then that the Paragard had broken inside her.

      The Court will evaluate the equitable tolling and estoppel arguments

against this background.

      D.     Counts Subject to Dismissal

      It also bears noting upfront that Defendants pleaded their motion to

dismiss in generalized terms. Although the master complaint sets out 16 distinct,

numbered counts, Defendants do not expressly cross-reference any of those


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numbered counts in their motion to dismiss. Instead, they refer broadly to

generalized causes of action such as “personal injury” and “breach of warranty.”

To avoid sandbagging Plaintiffs, the Court will not construe those general terms

broadly.

      E.     Motion to Dismiss Claims as Untimely Under Statutes of
             Limitations of Alabama, Idaho, Michigan, Mississippi, New
             York, and Virginia

      With that foundation in mind, the Court now turns to the state-specific

arguments for dismissal of certain claims as untimely. Defendants first move the

Court to dismiss, under their respective statutes of limitations, claims from two

Alabama cases, Dkt. No. [709-1] at 17; six Idaho cases, id. at 7; 14 Michigan cases,

id. at 11; three Mississippi cases, id. at 11-12; 41 New York cases, id.

at 13-14, 17-18; and 17 Virginia cases, id. at 14-15. Dkt. No. [709] at 5-19.

      Defendants argue that under the law of the states of Alabama, Idaho,

Michigan, Mississippi, New York, and Virginia, the statute of limitations begins

to run upon the date of injury, which Defendants contend was no later than the

date of latest removal surgery. Id. Using this date as an anchor, they argue that

certain claims were untimely because they were filed after the expiration of the

relevant statute of limitations.




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          1.     Alabama

      Defendants seek dismissal of personal-injury claims and claims for express

and implied breach of warranty in certain cases under Alabama law. 4 Dkt.

No. [709] at 5-8; Dkt. No. [709-1] at 17.

          a.     Choice of Law

      In both Alabama cases, Plaintiffs argue that because the state of placement

is not alleged in the short-form complaint, there “may be” a choice-of-law issue.

Dkt. No. [729-1] at 3, 8 (incorporating by reference Dkt. No. [729] at 56-60).

Defendants point out, however, that under its choice-of-law rules, Alabama

courts apply Alabama law because Alabama law provides that the law of the

forum governs procedural matters and generally deems statutes of limitations to

be procedural. Dkt. No. [709] at 5 (citing Reece v. Intuitive Surgical, Inc.,

63 F. Supp. 3d 1337, 1339-40 (N.D. Ala. 2014)). This appears to be an accurate

statement of the law, and Plaintiffs have not provided any argument or authority

suggesting that it is not. Thus, the Court will evaluate this portion of the motion

to dismiss under Alabama law.

      In Alabama, “[a]ll actions for any injury to the person or rights of another

not arising from contract . . . must be brought within two years” of the date of

accrual. Ala. Code § 6-2-38(l). Alabama law provides that claims for breach of


      4       Defendants also set out the statutes of limitations for other claims in a
footnote, see Dkt. No. [709] at 6 n.4, but because the arguments are undeveloped and
because Defendants have not responded to Plaintiffs’ allegation that this portion of the
motion is out of compliance with the Court’s order to first meet and confer on the issues,
Dkt. No. [729] at 27 n.7, the Court does not consider them.

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warranty are subject to a four-year limitations period. Ala. Code § 7-2-725 (1),

(2). Where “it appears from the face of the complaint that the plaintiff’s claim is

time-barred, the defendant is entitled to a dismissal based upon the defense of

the statute of limitations, without the necessity of offering any proof.” Tobiassen

v. Sawyer, 904 So.2d 258, 261 (Ala. 2004) (internal quotation marks omitted).

          b.    Personal Injury

      Under Alabama law, a cause of action for personal injury “accrues only

when there has occurred a manifest, present injury.” Griffin v. Unocal Corp.,

990 So.2d 291, 293 (Ala. 2008). In both of the cases at issue, the plaintiff alleges

breakage at removal and more than one removal procedure. Compl., Coats v.

Teva Pharms. USA, Inc., No. 1:22-cv-3689-LMM, ECF No. [1] at 3-4 (N.D. Ga.

Sept. 13, 2022); Compl., Robinson v. Teva Pharms. USA, Inc., No. 1:22-cv-3238,

ECF No. [1] at 3-4 (N.D. Ga. Aug. 15, 2022).

      As previously discussed, there is no reasonable dispute that at least the

second medical intervention to remove the broken Paragard amounts to a

manifest, present injury. See supra Part III.B. Defendants point to allegations in

the short-form complaints establishing the date of last removal, and they set out

each respective filing date. Dkt. No. [709-1] at 17. Both of the filing dates fall

outside the two-year statute of limitations. Accordingly, the Court GRANTS the

motion to dismiss the personal-injury claims from the Alabama cases.




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          c.     Breach of Warranty

      A breach-of-warranty claim generally accrues at the date of delivery. Ala.

Code § 7-2-725(1), (2). In these cases, the Court need not look so far back to

determine that the breach-of-warranty claims are barred by the statute of

limitations. As discussed above, even though the pleadings are sufficient to

plausibly establish that fraudulent concealment precluded Plaintiffs from

discovering any breach of warranty, the hindrance was over by the time breakage

was discovered at removal. See supra Part III.C. Both cases were filed more than

four years after the second removal surgery. See Dkt. No. [709-1] at 17. Therefore,

the breach-of-warranty claims were filed out of time, and the Court GRANTS the

motion to dismiss those claims as well.

          d.     Conclusion

      The motion to dismiss, Dkt. No. [709], is GRANTED as to the Alabama

cases appearing in Exhibit 1 to Defendants’ motion to dismiss. Dkt. No. [709-1]

at 17. The claims for personal injury (Counts I-VI, XIII) and breach of warranty

(Counts X, XI) in those cases are thus DISMISSED as untimely.

          2.     Idaho

      Defendants seek dismissal of the personal-injury claims asserted in certain

cases under Idaho law.5 Dkt. No. [709] at 8-10; Dkt. No. [709-1] at 7. Because



      5        Defendants also assert in a footnote that the breach-of-warranty claims are
subject to a two-year statute of limitations and contend that “summary judgment” is
warranted on some or all of Plaintiffs’ other claims. Dkt. No. [709] at 9 n.8. Because the
arguments are undeveloped and because Defendants have not responded to Plaintiffs’
allegation that this portion of the motion is out of compliance with the Court’s order to

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Defendants have included only those Idaho cases where the plaintiff lives, had

her Paragard placed, and had her Paragard removed in Idaho, there are no

choice-of-law issues. See Dkt. No. [729-1] at 4-6, 8.

      In Idaho, a claim alleging personal injury due to a defective product is

governed by the state’s two-year statute of limitations for personal-injury claims.

Idaho Code Ann. § 6-1403(3). The clock begins to run from “the time of the

occurrence, act or omission complained of.” Idaho Code Ann. § 5-219(4). Such

claim does not accrue until “some damage” has occurred, Winfree ex rel.

Cosgrove v. Merrell Dow Pharms., Inc., 788 P.2d 1293, 1298 (Idaho 1989);

Reynolds v. Trout Jones Gledhill Fuhrman, P.A., 293 P.3d 645, 648-49 (Idaho

2013), and there is “objective proof of the damage,” Reynolds, 293 P.3d at 649;

accord Conner v. Hodges, 333 P.3d 130, 135 (Idaho 2014) (explaining that there

must be an “objectively ascertainable” injury, meaning that “objective medical

proof would support the existence of an actual injury” (internal quotation marks

omitted)).

      In four of the Idaho cases, the plaintiff alleges that her Paragard was

broken upon removal and that she underwent more than one removal procedure.

See Compl., Koncz v. Teva Pharms. USA, Inc., No. 1:23-cv-1414-LMM, ECF

No. [1] at 3-4 (N.D. Ga. Mar. 31, 2023); Compl., Moss v. Teva Pharms. USA, Inc.,

No. 1:21-cv-5320-LMM, ECF No. [1] at 3-4 (N.D. Ga. Dec. 29, 2021); Compl.,



first meet and confer on the issues, Dkt. No. [729] at 29-30 n.8, the Court does not
consider them.

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Thurman v. Teva Pharms. USA, Inc., No. 1:22-cv-2088-LMM, ECF No. [1] at 2-3

(N.D. Ga. May 25, 2022); Compl., Torres v. Teva Pharms. USA, Inc., No. 1:23-cv-

1710-LMM, ECF No. [1] at 3-4 (N.D. Ga. Apr. 17, 2023). There is no reasonable

dispute that a second medical intervention to remove the Paragard is an

objectively ascertainable injury attributable to the Paragard. See supra Part III.B.

Each of the cases was filed more than two years after the second removal

procedure and thus falls outside the statute of limitations. See Dkt. No. [709-1]

at 7. Accordingly, the Court GRANTS the motion to dismiss the personal-injury

claims from the Idaho cases involving claims of more than one procedure to

remove a broken Paragard.

      In the other two cases, the plaintiffs allege that the Paragard broke at the

time of removal, but neither plaintiff claims to have undergone more than one

removal procedure. See Compl., Foster v. Teva Pharms. USA, Inc., No. 1:23-cv-

4748-LMM, ECF No. [1] at 3-4 (N.D. Ga. Oct. 17, 2023); Compl., McDonald v.

Teva Pharms. USA, Inc., No. 1:22-cv-455-LMM, ECF No. [1] at 3-4 (N.D. Ga. Feb.

4, 2022). This is still enough to establish an objectively ascertainable injury. The

injuries are alleged to have resulted from broken pieces of plastic: if a broken

Paragard were to inflict injuries, it must have done so prior to or at the time of

removal. See supra Part III.B. In both of the remaining Idaho cases, that date fell

more than two years before the plaintiff filed action. See Dkt. No. [709-1] at 7.

Thus, the personal-injury claims in those cases are also subject to dismissal as

untimely.


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      Accordingly, the motion to dismiss, Dkt. No. [709], is GRANTED as to the

Idaho cases appearing in Exhibit 1 to Defendants’ motion to dismiss. Dkt.

No. [709-1] at 7. The claims for personal injury (Counts I-VI, XIII) in those cases

are thus DISMISSED as untimely filed.

         3.     Michigan

      Defendants seek dismissal of all the claims asserted in the Michigan cases

appearing in Exhibit 1 to their motion to dismiss. Dkt. No. [709] at 10-12; Dkt.

No. [709-1] at 11.

         a.     Choice of Law

      Defendants state in their motion to dismiss that there is no question of

choice of law because they seek dismissal only of Michigan cases where the

plaintiff “resides in, had her Paragard placed in, and had her Paragard removed

in Michigan.” Dkt. No. [709] at 10 n.9. Plaintiffs point out that in a number of

cases, this is not true: in Early v. Teva Pharmaceuticals USA, Inc., No. 1:22-cv-

02550-LMM, ECF No. [1] at 2 (N.D. Ga. June 25, 2022), the plaintiff states that

she lived in Georgia at the time she filed her complaint; in Fling v. Teva

Pharmaceuticals USA, Inc., No. 1:23-cv-01616-LMM (N.D. Ga. Apr. 13, 2023), the

plaintiff states that she had her Paragard placed in Colorado, that she lived in

Colorado at the time of placement, and that she lived in Colorado at the time she

filed suit; and in Lane v. Teva Pharmaceuticals USA, Inc., No. 1:22-cv-02499

(N.D. Ga. June 22, 2022) and Munger v. Teva Pharmaceuticals USA, Inc., No.

1:22-cv-03146 (N.D. Ga. Aug. 9, 2022), the state of placement is not alleged in the


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short-form complaint. Dkt. No. [729-1] at 4, 5, 7. Plaintiffs therefore contend that

the laws of the states of Georgia, Colorado, and some other unknown states could

be at issue. Id.; Dkt. No. [729] at 56-60.

         Each of these plaintiffs concede that a Michigan district court is an

appropriate venue for her claims. See Compl., Early, No. 1:22-cv-02550-LMM,

ECF No. [1] at 2; Compl., Fling, No. 1:23-cv-01616-LMM, ECF No. [1] at 2;

Compl., Lane, No. 1:22-cv-02499, ECF No. [1] at 2; Compl., Munger, No. 1:22-cv-

03146, ECF No. [1] at 2. Defendants correctly assert that for tort actions,

Michigan’s choice-of-law test applies a presumption in favor of the law of the

forum and will only apply a foreign state’s law where that foreign state has an

interest sufficient to overcome this presumption. Sutherland v. Kennington Truck

Serv., Ltd., 562 N.W.2d 466, 470-71 (Mich. 1997).

         The United States Supreme Court has held that “the plaintiff’s residence,

with nothing more, is insufficient to support the choice of a state’s law.” Id. at 472

(citing Home Ins. Co. v. Dick, 281 U.S. 397, 408 (1930); John Hancock Mut. Life

Ins. Co. v. Yates, 299 U.S. 178 (1936)). Thus, the fact that Plaintiff Early lived in

Georgia at the time she filed her complaint does not give rise to a choice-of-law

issue.

         However, Defendants have supplied no legal authority suggesting that

where the allegedly faulty Paragard was placed in the patient in another state,

Michigan courts would not defer to the law of that foreign state. The plaintiff in

Fling has pleaded that her Paragard was placed in Colorado and that she lived in


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Colorado at the time. Compl., Fling, No. 1:23-cv-01616-LMM, ECF No. [1] at 3.

For this reason, the Court finds that Fling presents a choice-of-law question in

violation of the Court’s case management order, Dkt. No. [675].

      On the other hand, the Court is not persuaded that Lane or Munger

presents a choice-of-law question, as the plaintiffs in both cases state that they

were residents of Michigan when their Paragards were placed and removed, that

the removal procedures took place in Michigan, and that they lived in Michigan

when they filed their lawsuits. Compl., Lane, No. 1:22-cv-02499, ECF No. [1]

at 2-3; Compl., Munger, No. 1:22-cv-03146, ECF No. [1] at 2-3. It follows that the

pleadings do not give rise to an inference that any other state has an interest in

those plaintiffs’ claims sufficient to overcome the presumption that Michigan law

will apply.

      The Court therefore DENIES the motion to dismiss as to Fling, No. 1:23-

cv-01616-LMM, but will consider Defendants’ statute-of-limitations arguments

with regard to Early, No. 1:22-cv-02550-LMM, Lane, No. 1:22-cv-02499, and

Munger, No. 1:22-cv-03146.

          b.    Statute-of-Limitations Analysis

      In Michigan, the applicable statute of limitations is governed by the

gravamen of the complaint. Att’y Gen. v. Merck Sharp & Dohme Corp.,

807 N.W.2d 343, 347 (Mich. Ct. App. 2011). Here, the gravamen of each

Plaintiff’s complaint is that a broken Paragard caused her internal injuries. See,

e.g., Dkt. No. [79] ¶ 150. Thus, all of the claims brought under a legal or equitable


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theory of liability for personal injury: “design defect, manufacturing defect,

failure to warn, negligence, gross negligence, negligent misrepresentation, breach

of express warranty, breach of implied warranty, and catch-all Michigan statutory

and common law remedy claims all sound as product liability claims.” Good v.

Howmedica Osteonics Corp., Case Nos. 15-cv-10133, 15-cv-10134, 2015 WL

8175256, at *3 (E.D. Mich. Dec. 8, 2015).

      Michigan applies a three-year statute of limitations to such claims. Mich.

Comp. Laws § 600.5805(12). The limitations period runs from the time the claim

accrues, which is “the time the wrong upon which the claim is based was done

regardless of the time when damage results.” Mich. Comp. Laws § 600.5827. The

date of the wrong is “the date on which [the] plaintiff was harmed by the

defendant’s act.” Smith v. Stryker Corp., Docket No. 294916, 2011 WL 445646,

at *1 (Mich. Ct. App. Feb. 8, 2011). Typically, “a claim accrues even if the plaintiff

is not subjectively aware of an injury or its cause.” Tice v. Zimmer Holdings, Inc.,

No. 1:15-cv-134, 2015 WL 4392985, at *3 (W.D. Mich. July 15, 2015); accord

Smith, 2011 WL 445646 at *1 (holding that the harm occurred during the use of

the product, even though the damages did not manifest until later).

      In eight of the remaining Michigan cases, the plaintiff alleges that her

Paragard was broken upon removal and that she underwent more than one

removal procedure. See Compl., Carson v. Teva Pharms. USA, Inc., No. 1:23-cv-

1705-LMM, ECF No. [1] at 3-4 (N.D. Ga. Apr. 17, 2023); Compl., Deising v. Teva

Pharms. USA, Inc., No. 1:21-cv-3045-LMM, ECF No. [1] at 3-4 (N.D. Ga. July 29,


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2021); Compl., Earley, No. 1:22-cv-2550-LMM, ECF No. [1] at 3-4; Compl.,

Gotham v. Teva Pharms. USA, Inc., No. 1:21-cv-3585-LMM, ECF No. [1] at 3-4

(N.D. Ga. Aug. 30, 2021); Compl., Levens v. Teva Pharms. USA, Inc., No. 1:21-cv-

4132-LMM, ECF No. [1] at 3-4 (N.D. Ga. Oct. 7, 2021); Compl., Miller v. Teva

Pharms. USA, Inc., No. 1:23-cv-1658-LMM, ECF No. [1] at 3-4 (N.D. Ga. Apr. 14,

2023); Compl., Nestorak v. Teva Pharms. USA, Inc., No. 1:22-cv-3814-LMM, ECF

No. [1] at 3-4 (N.D. Ga. Sept. 21, 2022); Compl., Lane, No. 1:22-cv-02499, ECF

No. [1] at 3-4. The second removal procedure was obviously a wrong attributable

to the Paragard. See supra Part III.B. Each of the eight cases was filed more than

three years after the latest removal procedure and thus falls outside the statute of

limitations. See Dkt. No. [709-1] at 11. Accordingly, the Court GRANTS the

motion to dismiss these Michigan cases.

      As to the remaining five cases, the plaintiffs allege that the Paragard broke

at the time of removal, but none of the plaintiffs claim to have undergone more

than one removal procedure. See Compl., Higgins v. Teva Pharms. USA, Inc.,

1:22-cv-01506-LMM, ECF No. [1] at 3-4 (N.D. Ga. Apr. 20, 2022); Compl.,

McIntyre v. Teva Pharms. USA, Inc., 1:22-cv-03242-LMM, ECF No. [1] at 3-4

(N.D. Ga. Aug. 15, 2022); Compl., Munger, No. 1:22-cv-03146, ECF No. [1] at 3-4;

Compl., Ott v. Teva Pharms. USA, Inc., 1:22-cv-01511-LMM, ECF No. [1] at 3-4

(N.D. Ga. Apr. 20, 2022); Compl., Taylor v. Teva Pharms. USA, Inc., 1:23-cv-

01617-LMM, ECF No. [1] at 3-4 (N.D. Ga. Apr. 13, 2023). Be that as it may, it is

not reasonable to presume that the broken Paragard may not have inflicted harm


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until after it had already been removed. See supra part III.B. Each of these cases

was also filed more than three years after removal and thus falls outside the

statute of limitations. Consequently, the Court also GRANTS the motion to

dismiss these Michigan cases.

         c.     Conclusion

      For these reasons, the Court DENIES the motion to dismiss as to Fling,

No. 1:23-cv-01616-LMM, ECF No. 1 at 2; GRANTS the motion as to all of the

claims in each of the remaining Michigan cases appearing in Exhibit 1 to

Defendants’ motion to dismiss; and DISMISSES as untimely filed each of the

remaining Michigan cases appearing in Exhibit 1 to Defendants’ motion to

dismiss. Dkt. No. [709-1] at 11.

         4.     Mississippi

      Defendants seek dismissal of the product-liability and breach-of-warranty

claims asserted in the Mississippi cases appearing in Exhibit 1 to their motion to

dismiss. Dkt. No. [709] at 12-14; Dkt. No. [709-1] at 11-12.

         a.     Choice of Law

      Defendants contend that Mississippi law should apply because Mississippi

deems the statute of limitations to be a procedural issue to which it applies its

own law. Dkt. No. [709] at 12. Plaintiffs argue, however, that there is a choice-of-

law issue in one of the three Mississippi cases subject to Defendants’ motion: in

Mosley v. Teva Pharms. USA, Inc., No. 1:22-cv-4140-LMM (N.D. Ga. Oct. 17,

2022), the plaintiff asserts in the complaint that she was a resident of Florida at


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the time she filed her complaint and that the district court and division in which

personal jurisdiction and venue would be proper is the District Court for the

Northern District of Florida. Dkt. No. [729-1] at 6 (incorporating by reference

Dkt. No. [729] at 56-60); Compl., Mosley, No. 1:22-cv-4140-LMM, ECF No. [1]

at 1.

          Again, the plaintiff’s residence at the time of filing is not enough on its own

to support the choice of a state’s law. Dick, 281 U.S. at 408. And in Mosley, the

plaintiff’s residence at the time of filing is the only connection to Florida: she

states that her Paragard was placed and removed in Mississippi and that she lived

in Mississippi at the time. Compl., Mosley, No. 1:22-cv-4140-LMM, ECF No. [1]

at 1-2.

          The Court therefore finds no reasonable debate over the choice of law to be

applied to the Mississippi cases at issue in the motion to dismiss. Thus, the Court

will evaluate the statute-of-limitations arguments under Mississippi law.

              b.    Statute-of-Limitations Analysis

          Defendants seek dismissal of the product-liability claims as untimely under

a three-year statute of limitations and dismissal of the breach-of-warranty claims

as untimely under a six-year statute of limitations. Dkt. No. [709] at 12-14.6

(citing Elliott v. El Paso Corp., 181 So.3d 263, 268 (Miss. 2015)).




          6   Defendants also appear to seek dismissal of some claims as superseded by
the Mississippi Products Liability Act (“MPLA”). Dkt. No. [709] at 13 n.11. The Court
does not find the issue sufficiently argued and therefore will not consider it.

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             i.     Personal-Injury Claims

      It is clear from the faces of the complaints that the personal-injury claims

were filed outside the statute of limitations. The three-year statute of limitations

begins to run when the plaintiff knew or should have known of her injury. Miss.

Code § 15-1-49(1). In two of the Mississippi cases, the plaintiff alleges that her

Paragard was broken upon removal and that she underwent more than one

removal procedure. See Compl., Kettler v. Teva Pharms. USA, Inc., No. 1:23-cv-

5990-LMM, ECF No. [1] at 3-4 (N.D. Ga. Dec. 27, 2023); Compl., Mosley,

No. 1:22-cv-4140-LMM, ECF No. [1] at 2-3. There is no reasonable dispute that a

second medical intervention to remove the Paragard is an injury of which the

plaintiff is aware. See supra Part III.B. In the remaining case, the plaintiff alleged

only one removal procedure, but she indicated that she was injured because the

removal required “complicated medical interventions.” Compl., Sharp v. Teva

Pharms. USA, Inc., No. 1:21-cv-3115-LMM, ECF No. [1] at 3-4 (N.D. Ga. Aug. 2,

2021). Thus, this plaintiff was also clearly aware of her injury on the date of last

removal.

      These cases were filed outside the three-year statute of limitations for

product-liability actions. Dkt. No. [709-1] at 11-12. Accordingly, the Court

GRANTS the motion to dismiss those claims and DISMISSES the personal-

injury claims (Counts I-VI, XIII) from the Mississippi cases appearing in

Exhibit 1 to the motion to dismiss.




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             ii.   Breach-of-Warranty Claims

      The breach-of-warranty claims would have accrued by the same time the

personal-injury claims accrued. The six-year statute of limitations typically

begins to run on a breach-of-warranty claim “when tender of delivery is made.”

Miss. Code Ann. § 75-2-725(1), (2). However, the limitations period may be tolled

where the defendant engaged in affirmative conduct intended to conceal the

existence of a claim. Ross v. Citifinancial, Inc., 344 F.3d 458, 464 (5th Cir. 2003).

      Under this standard, Plaintiffs pleaded fraud sufficient to toll the statute of

limitations on the breach-of-warranty claims. See supra Part III.C. Yet even given

Plaintiffs’ adequate pleadings of fraud, any toll on the claims for breach of

warranty would have ended by the time of last removal: by that date, it was no

longer necessary for Plaintiffs to rely on Defendants’ omissions and false

representations, as each plaintiff had knowledge by then that the Paragard had

broken inside her. Id.

      Two of the Mississippi cases were filed within the six-year statute of

limitations for claims of breach of warranty. Thus, the Court GRANTS the

motion as to the time-barred breach-of-warranty claims, Kettler v. Teva Pharms.

USA, Inc., No. 1:23-cv-5990-LMM, and DENIES it as to the breach-of-warranty

claims asserted in the other Mississippi cases, Sharp, No. 1:21-cv-3115-LMM;

Mosley, No. 1:22-cv-4140-LMM.




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            c.    Conclusion

         The motion to dismiss is GRANTED as to the personal-injury claims

(Counts I-VI, XIII) asserted in all three Mississippi cases and as to the breach-of-

warranty claims (Counts X, XI) asserted in Kettler v. Teva Pharms. USA, Inc.,

No. 1:23-cv-5990-LMM. Those claims are therefore DISMISSED. The motion is

DENIED as to the breach-of-warranty claims asserted in Sharp, No. 1:21-cv-

3115-LMM, and Mosley, No. 1:22-cv-4140-LMM.

            5.    Virginia

         Defendants seek dismissal of all the claims asserted in the Virginia cases

appearing in Exhibit 1 to their motion. Dkt. No. [709] at 17-19; Dkt. No. [709-1] at

14-15.

            a.    Choice of Law

         Two of the plaintiffs state in their short-form complaints that their

Paragards were removed in other jurisdictions, and they now argue that the law

of those jurisdictions therefore may apply. See Compl., Anderson v. Teva Pharms.

USA, Inc., No. 1:21-cv-3658-LMM, ECF No. [1] at 3-4 (N.D. Ga. Sept. 2, 2021);

Br., id., ECF No. [14]; Compl., Hamel v. Teva Pharms. USA, Inc., No. 1:21-cv-

3554-LMM, ECF No. [1] at 3-4 (N.D. Ga. Aug. 27, 2021); Br., id., ECF No. [18];

see also Dkt. No. [729-1] at 3, 5. Plaintiffs also argue that where the plaintiff did

not allege the state of Paragard placement and/or removal in the short-form

complaint or where allegations in the short-form complaint involve conduct




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occurring in other states, there “may be” a choice-of-law issue. Dkt. No. [729-1]

at 3, 4, 6, 9.

       However, those plaintiffs conceded in their short-form complaints that

personal jurisdiction and venue would be proper in Virginia district courts, and

they offer no argument that this would not still be true. In Virginia, “it is well

settled that the forum state’s statute of limitations controls, not that of the place

of the alleged wrong.” Torkie-Tork v. Wyeth, 739 F. Supp. 2d 887, 890 (E.D. Va.

2010) (citing Hospelhorn v. Corbin, 19 S.E.2d 72, 73 (Va. 1942)). Thus, the Court

finds no reason Virginia’s limitations period would not apply to these and all the

other Virginia cases at issue in Defendants’ motion to dismiss.

           b.    Statute-of-Limitations Analysis

       Under Virginia law, the general rule is that “every action for personal

injuries, whatever the theory of recovery, and every action for damages resulting

from fraud, shall be brought within two years after the cause of action accrues.”

Va. Code § 8.01-243(A); see also Va. Code § 8.01-246 (providing that § 8.01-243

governs the limitations period for warranty claims based on products liability);

Friedman v. Peoples Serv. Drug Stores, Inc., 160 S.E.2d 563, 565-66 (Va. 1968).

Much like accrual in Michigan, the right of action in Virginia accrues and the

prescribed limitations period begins to run “from the date the injury is sustained

in the case of injury to the person . . . and not when the resulting damage is

discovered.” Va. Code § 8.01-230.




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      In ten of the Virginia cases, the plaintiff alleges that her Paragard was

broken upon removal and that she underwent more than one removal procedure.

See Compl., Anderson, No. 1:21-cv-3658-LMM, ECF No. [1] at 3-4; Compl.,

Barrett v. Teva Pharms. USA, Inc., No. 1:23-cv-4012-LMM, ECF No. [1] at 3-4

(N.D. Ga. Sept. 7, 2023); Compl., Cook v. Teva Pharms. USA, Inc., No. 1:23-cv-

1120-LMM, ECF No. [1] at 3-4 (N.D. Ga. Mar. 15, 2023); Compl., Hamel v. Teva

Pharms. USA, Inc., No. 1:21-cv-3554-LMM, ECF No. [1] at 3-4 (N.D. Ga. Aug. 27,

2021); Compl., Johnson v. Teva Pharms. USA, Inc., No. 1:22-cv-454-LMM, ECF

No. [1] at 3-4 (N.D. Ga. Feb. 4, 2022); Compl., Lemus Diaz v. Teva Pharms. USA,

Inc., No. 1:23-cv-312-LMM, ECF No. [1] at 3-4 (N.D. Ga. Jan. 20, 2023); Compl.,

Mercado v. Teva Pharms. USA, Inc., No. 1:23-cv-1308-LMM, ECF No. [1] at 3-4

(N.D. Ga. Mar. 28, 2023); Compl., Sarley v. Teva Pharms. USA, Inc., No. 1:22-cv-

1586-LMM, ECF No. [1] at 3-4 (N.D. Ga. Apr. 22, 2022); Compl., Vann v. Teva

Pharms. USA, Inc., No. 1:22-cv-1290-LMM, ECF No. [1] at 3-4 (N.D. Ga. Apr. 1,

2022); Compl., Vetter v. Teva Pharms. USA, Inc., No. 1:23-cv-1407-LMM, ECF

No. [1] at 3-4 (N.D. Ga. Mar. 31, 2023). There is no reasonable dispute that a

second medical intervention to remove the Paragard is an injury of which the

plaintiff is aware. In another case, the plaintiff alleged only one removal

procedure, but she indicated that she was injured because she experienced

“[p]hysical pain and suffering and mental anguish and anxiety related to the

Paragard’s breakage and the need for surgical intervention,” Compl., McLeod v.

Teva Pharms. USA, Inc., No. 1:22-cv-3059-LMM, ECF No. [1] at 3-4 (N.D. Ga.


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Aug. 2, 2022), and in one other, the plaintiff also alleged only one removal

procedure, but she indicated that she was injured because she experienced an

unexpected surgical removal, Compl., Vetter v. Teva Pharms. USA, Inc., No. 1:23-

cv-1407-LMM, ECF No. [1] at 3-4 (N.D. Ga. Mar. 31, 2023). Thus, these plaintiffs

were also clearly aware of their injuries on the date of removal.

      The dates each of these twelve cases were filed all fall outside the statute of

limitations. See Dkt. No. [709-1] at 14-15. Accordingly, the Court GRANTS the

motion to dismiss these Virginia cases.

      As to the remaining five Virginia cases, the plaintiffs allege that the

Paragard broke at the time of removal, but none of the plaintiffs claim to have

undergone more than one removal procedure. Even so, it is not reasonable to

presume that the broken Paragard may not have inflicted harm until after it had

already been removed or that the broken Paragard would not have given

Plaintiffs reason to discover their fraud claims. See supra part III.B. Each of these

remaining cases were filed more than two years after the date of last removal and

thus also fall outside the statute of limitations.

      Accordingly, the motion to dismiss, Dkt. No. [709], is GRANTED as to all

the claims in each of the Virginia cases appearing in Exhibit 1 to Defendants’

motion to dismiss, Dkt. No. [709-1] at 14-15, and those cases are DISMISSED as

untimely filed.




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          6.     New York

      Defendants seek dismissal of the personal-injury claims and the claims for

breach of warranty from all of the New York cases appearing in Exhibit 1 of their

motion.7 Dkt. No. [709] at 14-17; Dkt. No. [709-1] at 13-14, 17-18.

          a.     Choice of Law

      Defendants assert that New York applies its own statute-of-limitations law

as procedural and that the Court therefore should apply New York law to the New

York cases. Dkt. No. [709] at 14 (citing Trisvan v. Heyman, 305 F. Supp. 3d 381,

395 (E.D.N.Y. 2018); Braune v. Abbott Lab’ys, 895 F. Supp. 530, 542 (E.D.N.Y.

1995)). Plaintiffs respond by pointing out that allegations in some of the short-

form complaints involve conduct in other states and therefore may give rise to a

choice-of-law conflict. Dkt. No. [729] at 56-60 (citing Dkt. No. [729-1] at 2-4,

6-9). It appears that Defendants have provided an accurate statement of the law,

and Plaintiffs have supplied no authority suggesting that the law of any other

state would apply in any of the cases. See id. Thus, the Court analyzes the statute-

of-limitations arguments under New York law.

          b.     Personal-Injury Claims

      New York has a three-year statute of limitations on actions for personal

injury, N.Y. C.P.L.R. § 214(5), which begins to run “when all of the facts necessary

to the cause of action have occurred so that the party would be entitled to obtain


      7       Defendants reference the statute of limitations for fraud claims but do not
supply any argument. The Court therefore does not consider whether the fraud claims in
these suits were untimely filed.

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relief in court.” Blanco v. Am. Tel. & Tel. Co., 689 N.E.2d 506, 510 (N.Y. 1997)

(internal quotation marks omitted). The limitations period on personal-injury

claims begins to run upon the injury-causing malfunction of the product. Id.

at 510-11; Martin v. Edwards Lab’ys, 457 N.E.2d 1150, 1153-54 (N.Y. 1983).

Plaintiffs contend that this cannot be determined on the motion to dismiss

because it “is a fact question yet to be discovered.” Dkt. No. [729] at 35-37.

      As to the majority of the cases hinging on New York law, the Court is not

persuaded. According to the master complaint, each plaintiff’s Paragard was

already broken at the time of removal: “Plaintiffs’ Paragard broke inside their

bodies, including, but not limited to, during routine removal, causing

complications and injuries to Plaintiffs, including but not limited to, surgeries to

remove the broken piece of device, infertility, and pain.” Dkt. No. [79] ¶ 150

(emphasis added). It is therefore axiomatic that the injury-causing malfunction

had already taken place—and become apparent—by the last removal date.

      For 38 of the 41 cases Defendants seek to dismiss, they point to allegations

in the short-form complaints establishing the date of last removal and they note

each respective filing date. Dkt. No. [709-1] at 13-14, 17-18. All of the filing dates

fall well outside the statute of limitations. Accordingly, the Court GRANTS the

motion to dismiss the personal-injury claims from those cases.

      Two plaintiffs have each shown in their individual responses that

Defendants misquoted the latest removal date, which in fact fell within the

statute of limitations. See Compl., Carrion v. Teva Pharms. USA, Inc., No. 1:22-


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cv-4707-LMM, ECF No. [1] at 3 (N.D. Ga. Nov. 29, 2022); Compl., Wyatt v. Teva

Pharms. USA, Inc., No. 1:22-cv-4187-LMM, ECF No. [1] at 3 (N.D. Ga. Oct. 20,

2022). Nonetheless, the error is immaterial under New York law, since the

original removal date falls outside the statute of limitations and both Plaintiffs

allege breakage—the injury-causing malfunction—upon removal. See Compl.,

Carrion, No. 1:22-cv-4707-LMM, ECF No. [1] at 3-4; Compl., Wyatt, No. 1:22-cv-

4187-LMM, ECF No. [1] at 3-4. Thus, the Court also GRANTS the motion to

dismiss the personal-injury claims from those cases.

      In support of their motion to dismiss the 41st case, Defendants rely on the

Plaintiff Fact Sheet to establish the date of last removal. Dkt. No. [907-1] at 17

(seeking dismissal of claims from Look v. Teva Pharms. USA, Inc., No. 1:23-cv-

2973 (N.D. Ga. July 5, 2023)). The date of removal set out in the Plaintiff Fact

Sheet would also place this case outside the statute of limitations. See PFS, Look,

No. 1:23-cv-2973, ECF No. [4-2] at 16. However, granting the Rule 12(b)(6)

motion on this basis would be improper, as the ruling would require reliance on

facts outside the pleadings. Thus, the Court CONVERTS this portion of the

motion to dismiss to a motion for summary judgment and GRANTS Ms. Look 21

days from the entry of this order to file evidence that her removal date in fact

falls within the statute of limitations.

          c.     Breach-of-Warranty Cases

      Defendants also seek dismissal of the claims in these cases for breach of

express and implied warranty. The claims for breach of express and implied


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warranty are governed by the New York Uniform Commercial Code’s four-year

statute of limitations, N.Y. U.C.C. Law § 2-725(2), which typically accrues on the

date of delivery, Fernandez v. Cent. Mine Equip. Co., 670 F. Supp. 2d 178, 189

(E.D.N.Y. 2009).

      As Defendants concede, “a defendant may be estopped to plead the Statute

of Limitations where plaintiff was induced by fraud, misrepresentations or

deception to refrain from filing a timely action.” Simcuski v. Saeli, 377 N.E. 2d

713, 716 (N.Y. 1978). As previously noted, the Court finds that such deceptive

conduct has been adequately pleaded but worked to prevent Plaintiffs from filing

a timely action only until removal of the broken Paragard. See supra Part III.C.

      For the vast majority of the New York plaintiffs, their pleaded last removal

date fell outside even the four-year statute of limitations for breach-of-warranty

claims. See Dkt. No. [709-1] at 13-14, 17-18. Thus, the motion to dismiss is

GRANTED with regard to the breach-of-warranty claims in those cases.

      However, two of the plaintiffs filed action within four years of her one and

only removal date, and, again, in one case, Defendants’ allegations regarding the

date of latest removal rely on facts outside the record. Accordingly, the motion to

dismiss the breach-of-warranty claims is DENIED as to the cases filed within

four years of the removal date, Armijo v. Teva Pharms. USA, Inc., No. 1:22-cv-

2497-LMM (N.D. Ga. June 22, 2022); Jemiolo v. Teva Pharms. USA, Inc., No.

1:22-cv-464-LMM (N.D. Ga. Feb. 4, 2022), and CONVERTED into a motion for

summary judgment as to Look, No. 1:23-cv-2973. Ms. Look shall have 21 days


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from the entry of this order to file evidence that her removal date falls within the

applicable statute of limitations.

           d.     Conclusion

      The motion to dismiss, Dkt. No. [709], is GRANTED IN PART and

DENIED IN PART as to the New York cases appearing in Exhibit 1 to

Defendants’ motion to dismiss, Dkt. No. [709-1] at 13-14, 17-18. The claims for

personal injury (Counts I-VI, XIII) are DISMISSED as untimely as to all the

New York cases in Defendants’ Exhibit 1 other than Look, No. 1:23-cv-2973. The

claims for breach of warranty (Counts X, XI) are DISMISSED as untimely as to

all the New York cases in Defendants’ Exhibit 1 other than Armijo, No. 1:22-cv-

2497-LMM; Jemiolo, No. 1:22-cv-464-LMM; and Look, No. 1:23-cv-2973. The

motion to dismiss is CONVERTED to a motion for summary judgment so far as

Defendants seek judgment of the personal-injury and breach-of-warranty claims

in Look, No. 1:23-cv-2973. The Court DEFERS ruling on the converted motion

for summary judgment until Ms. Look’s response time has run.

      F.        Motion to Dismiss Claims as Facially Barred by the
                Statutes of Repose of Iowa, North Carolina, Tennessee, and
                Texas

      Defendants also argue that certain claims are facially barred as untimely

under the statutes of repose of the states of Iowa, North Carolina, Tennessee, and

Texas. Dkt. No. [709]. On this basis, they seek an order dismissing three cases

under Iowa law, Dkt. No. [709-1] at 7, 17; 23 cases under North Carolina law, id.




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at 12-13, 17; four cases under Tennessee law, id. at 14, 17, 18; and five cases under

Texas law, id. Dkt. No. [709] at 20-29.8

          1.     Iowa

      The parties do not dispute that Iowa law applies to the three cases at issue

in the motion to dismiss. Iowa prohibits a plaintiff from asserting claims against

a manufacturer more than 15 years after the product was first purchased. Iowa

Code § 614.1(2A)(a). However, the statute of repose does not apply “if the

manufacturer . . . of the product intentionally misrepresents facts about the

product or fraudulently conceals information about the product and that conduct

was a substantial cause of the [plaintiff’s] harm.” Id.

      The Court has already found that Plaintiffs pleaded facts sufficient to show

that Defendants intentionally misrepresented facts and concealed information

about Paragard’s propensity to break. See supra Part III.C. Plaintiffs have also

clearly alleged in their pleadings that the breakage caused their injuries. See Dkt.

No. [79] ¶ 150. They also pleaded that the conduct caused them to have Paragard

inserted. See, e.g., id. ¶¶ 77, 157, 164. It is no leap at all, viewing the pleadings in

the light most favorable to Plaintiffs, to presume that Defendants’ conduct was a

substantial cause of Plaintiffs’ harm.


      8        Defendants had originally moved to dismiss 24 cases under North
Carolina law and six cases under Texas law. Thereafter, one North Carolina plaintiff
amended her complaint by consent, and the Court denied the motion as moot as to that
plaintiff, Ord., Pitts v. Teva Pharms. USA, Inc., No. 1:23-cv-3395-LMM, ECF No. [16]
(N.D. Ga. Nov. 13, 2024), and a Texas plaintiff stipulated to the dismissal of her action,
Ord., Robinson v. Teva Pharms. USA Inc., No. 1:23-cv-02126-LMM, ECF Nos. [8] (N.D.
Ga. Oct. 8, 2024).

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      Accordingly, the Court concludes that Plaintiffs’ allegations of fraud are

sufficient to create a reasonable inference that the statute of repose does not

apply. The Court therefore DENIES the motion to dismiss any claims under

Iowa’s statute of repose.

          2.    North Carolina

      There is no dispute that North Carolina law applies to the North Carolina

cases Defendants move to dismiss. North Carolina’s statute of repose bars claims

“for the recovery of damages for personal injury, death, or damage to property

based upon or arising out of any alleged defect or any failure in relation to a

product” that are filed “more than 12 years after the date of initial purchase for

use or consumption,” N.C. Gen. Stat. § 1-46.1(1), or for causes of action accruing

before October 1, 2009, more than six years after the date of initial purchase for

use or consumption, Cramer v. Ethicon, Inc., No. 1:20-cv-95-MOC-WCM, 2021

WL 243872, at *4 (W.D.N.C. Jan. 25, 2021). The statute of repose typically begins

to run on “the date of initial purchase for use or consumption.” N.C. Gen. Stat.

§ 1-46.1(1).

      The parties appear to agree that fraudulent concealment cannot toll the

statute of repose under North Carolina law. Dkt. No. [709] at 24; Dkt. No. [729]

at 43. Plaintiffs contend, however, that Defendants are estopped from raising the

defense. Dkt. No. [729] at 43.

      “In order for equitable estoppel to bar application of the statute of repose, a

plaintiff must have been induced to delay filing of the action by the conduct of the


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defendant that amounted to the breach of good faith.” Wood v. BD & A Constr.,

LLC, 601 S.E.2d 311, 315 (N.C. Ct. App. 2004). A defendant is estopped from

raising the statute-of-repose defense where (1) it made a false representation or

concealed facts; (2) it intended for Plaintiffs to act on it; and (3) it had actual or

constructive knowledge of the real facts. Bryant v. Adams, 448 S.E.2d 832, 828

(N.C. Ct. App. 1994). To assert estoppel, the plaintiff must have lacked

“knowledge and the means of knowledge as to the real facts in question” and have

“relied upon the conduct of the party sought to be estopped to his prejudice.” Id.

(internal quotation marks omitted).

      The pleadings are sufficient to meet this standard. See supra Part III.C.

Thus, Plaintiff’s allegations of fraudulent concealment are enough to support a

reasonable inference that Defendants are estopped from asserting the North

Carolina statute of repose. The motion to dismiss is therefore DENIED as to

those plaintiffs.

          3.        Tennessee

          a.        Choice of Law

      Defendants state in their motion to dismiss that there is no question of

choice of law because they seek dismissal only of Tennessee cases where the

plaintiff “resides in, had her Paragard placed in, and had her Paragard removed

in Tennessee.” Dkt. No. [709] at 25 n.17. One of the Tennessee plaintiffs points

out that this is incorrect and that she in fact lived in Alabama at the time she filed

her complaint and that the state where her Paragard was placed is unknown. Dkt.


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No. [729-1] at 8 (citing Compl., Rook v. Teva Pharms. USA, Inc., No. 1:22-cv-

3385, ECF No. [1] (N.D. Ga. Aug. 23, 2022)). She suggests that the laws of the

state of Alabama and some other unknown state therefore may be at issue. Id.;

Dkt. No. [729] at 56-60.

      To determine the choice of law in Tennessee, its courts “presumptively

apply the ‘law of the state where the injury occurred . . . unless, with respect to

the particular issue, some other state has a more significant relationship . . . to

the occurrence and the parties.’ ” Burns v. Taurus Int’l Mfg’g, Inc., 826 F. App’x

496, 499-500 (6th Cir. Sept. 2, 2020). Once again, a plaintiff’s residence at the

time of the filing is not alone enough to support the choice of a state’s law. Dick,

281 U.S. at 408. Thus, the fact that Plaintiff Rook lived in Alabama at the time

she filed her complaint does not give rise to a choice-of-law issue.

      The complaint alleges that all relevant conduct took place in Tennessee:

the plaintiff lived in Tennessee at the time she had the Paragard placed and

removed, and the procedure to remove the Paragard took place in Tennessee.

Thus, the Court does not find it plausible to presume that the placement occurred

in a state other than Tennessee.

      Accordingly, the Court will consider Defendants’ statute-of-repose

arguments with regard to all of the Tennessee cases appearing in Exhibit 1 of

Defendants’ motion to dismiss.




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           b.   Statute-of-Repose Analysis

      Tennessee’s statute of repose applies to “[a]ny action against a

manufacturer or seller of a product for injury to person or property caused by its

defective or unreasonably dangerous condition.” Tenn. Code Ann. § 29-28-

103(a). Notwithstanding any exceptions to the statutes of limitations, such action

“must be brought within six (6) years of the date of injury, . . . within ten (10)

years from the date on which the product was first purchased for use or

consumption, or within one (1) year after the expiration of the anticipated life of

the product, whichever is the shorter.” Id. The statute of repose also applies to

breach-of-warranty claims and “ ‘any other substantive legal theory in tort or

contract whatsoever.’ ” Ismoilov v. Sears Holdings Corp., No. M2017-00897-

COA-R3-CV, 2018 WL 1956491, at *8 (Tenn. Ct. App. 2018) (quoting the

definition of “products liability action” set out in Tenn. Code. Ann. § 29-28-

102(6)).

      Plaintiffs argue that Defendants are barred from raising the Tennessee

statute of repose defense due to fraudulent concealment. Dkt. No. [729] at 44.

They cite In re General Motors LLC Ignition Switch Litigation, 2019 WL 952348,

at *3 (S.D.N.Y. Feb. 27, 2019) (hereinafter “In re GM”), for its observation that

the Tennessee Supreme Court has not ruled on whether fraudulent concealment

can toll the statute of repose in product liability cases. Dkt. No. [729] at 44. They

ignore that the court then observed that “the Tennessee Court of Appeals and

multiple federal courts, including the Sixth Circuit, are unanimous in holding


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that it cannot” and that those holdings “are consistent with Tennessee Supreme

Court jurisprudence refusing to recognize exceptions to the statute of repose

beyond those expressly provided by the Tennessee General Assembly.” In re GM,

2019 WL 952348 at *3 (collecting cases and pointing to other causes of action

where the Tennessee General Assembly expressly provided for a fraudulent

concealment exception to the statute of repose).

      The Court finds the reasoning of In re GM persuasive. And, notably,

Plaintiffs have not supplied any cases in which a court applied the fraudulent

concealment exception to bar the statute of repose appearing in Tenn. Code Ann.

§ 29-28-103(a).

      In two of the Tennessee cases at issue in Defendants’ motion, the

placement date was pleaded in the short-form complaint and predated the

initiation of the lawsuit by more than ten years. Compl., Dotson v. Teva Pharms.

USA, Inc., No. 1:21-cv-04023-LMM, ECF No. [1] at (N.D. Ga. Sept. 29, 2021)

(Paragard placed in 2009); compare Am. Compl., Burnett v. Teva Pharms. USA,

Inc., No. 1:21-cv-02424-LMM, ECF No. [22] at 3 (N.D. Ga. July 30, 2021)

(Paragard placed on July 23, 2009) with Not. of Removal, id., ECF No. [1-1] at 20

(showing original filing date of May 24, 2021). The cases are therefore subject to

the statute of repose, and the Court thus GRANTS the motion to dismiss with

regard to those cases.

      In the remaining two cases, however, Defendants’ motion depends not on

the plaintiff’s pleadings but instead on an inconsistent date appearing in her


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Plaintiff Fact Sheet. See Dkt. No. [709-1] at 17 (citing PFS, Wilkes v. Teva

Pharms. USA, Inc., No. 1:23-cv-00139-LMM, ECF No. [7-2] at 14 (N.D. Ga.); PFS,

Rook, No. 1:23-cv-00139-LMM, ECF No. [7-2] at 14).

      These dates would also place the cases outside the statute of repose. It

would not be proper, however, to grant the Rule 12(b)(6) motion on this basis, as

the ruling would require that the Court rely on facts outside the pleadings. Thus,

the Court CONVERTS this portion of the motion to dismiss to a motion for

summary judgment and GRANTS Ms. Wilkes and Ms. Rook 21 days from the

entry of this order to file evidence that her placement date in fact falls within the

applicable Tennessee statute of repose.

         c.        Conclusion

      The motion to dismiss, Dkt. No. [709], is GRANTED IN PART and

DEFERRED IN PART as to the Tennessee cases appearing in Exhibit 1 to

Defendants’ motion to dismiss, Dkt. No. [709-1] at 14, 17, 18. The motion is

GRANTED as to Dotson, No. 1:21-cv-04023-LMM, and Burnett, No. 1:21-cv-

02424-LMM, and those cases shall be DISMISSED as untimely filed. The

motion to dismiss is CONVERTED to a motion for summary judgment so far as

Defendants seek judgment in Wilkes, No. 1:23-cv-00139-LMM, and Rook,

No. 1:23-cv-00139-LMM, based on statements appearing in those plaintiffs’

Plaintiff Fact Sheets. The Court DEFERS ruling on the converted motion for

summary judgment until those plaintiffs’ response time has run.




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         4.     Texas

         a.     Choice of Law

      Defendants state in their motion to dismiss that there is no question of

choice of law as to their motion to dismiss certain cases under Texas law because

they seek dismissal only of Texas cases where the plaintiff “resides in, had her

Paragard placed in, and had her Paragard removed in Texas.” Dkt. No. [709]

at 27 n.19. Plaintiffs argue with respect to one of the cases that because the state

of placement was not alleged in the short-form complaint, there “may be” a

choice-of-law issue. Dkt. No. [729-1] at 5.

      Here again, the pleadings do not give rise to a reasonable inference that the

Paragard was placed when the plaintiff was somewhere other than Texas. She

states that she lived in Texas when she had the Paragard placed, that she lived in

Texas when she had the Paragard removed, that the removal procedures took

place in Texas, and that she lived in Texas when she filed suit. Compl., Johnson v.

Teva Pharms. USA, Inc., No. 1:22-cv-01970-LMM, ECF No. [1] at 2-3 (N.D. Ga.

May 18, 2022). The Court therefore shall conduct the statute-of-repose analysis

using Texas law.

         b.     Statute-of-Repose Analysis

      The Texas statute of repose precludes a plaintiff from filing a

products-liability action more than 15 years “after the date of the sale of the

product.” Tex. Civ. Prac. & Rem. § 16.012(a)(2). Within the context of the statute,

“products liability action” includes “any action against a manufacturer or seller


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for recovery of damages or other relief for harm allegedly caused by a defective

product, whether the action is based in strict tort liability, strict products liability,

negligence, misrepresentation, breach of express or implied warranty, or any

other theory or combination of theories, and whether the relief sought is recovery

of damages or any other legal or equitable relief.” § 160.12(a)(2).

      Plaintiffs argue that Defendants are barred from raising the Texas statute

of repose because of their fraudulent concealment. Dkt. No. [729] at 45-46. They

concede that the Texas Supreme Court has not addressed whether fraudulent

concealment may toll a statute of repose or estop a defendant from raising the

defense in a product liability case. Id. at 45. They nevertheless argue that the

Court should hold that fraudulent concealment bars application of the statute of

repose because at least one Texas court considered the application of equitable

estoppel to bar a products-liability statute of repose and because Texas courts

have long held that a defendant’s fraud precludes it from asserting the statute of

limitations. Id. at 45-46 (relying principally on Fiengo v. Gen. Motors Corp.,

225 S.W.3d 858, 860 (Tex. Ct. App. 2007)).

      The Court is not persuaded. Plaintiffs are correct that it does not appear

that the Supreme Court of Texas has addressed whether fraudulent concealment

may toll a statute of repose or estop a defendant from raising the defense in a

product liability case. At the same time, in the Fiengo case Plaintiffs cite, the

court did not assume that fraudulent concealment applied but instead stated that

it “need not decide that issue today because, even if we assume it can, appellants


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have failed to produce sufficient evidence on each element of equitable estoppel

so as to raise a fact issue.” Id. Fiengo therefore does not supply a basis for

determining that fraudulent concealment precludes invocation of the statute of

repose.

      Moreover, other Texas Supreme Court jurisprudence suggests that the

state’s highest court would not hold that fraudulent concealment bars application

of the statute of repose, as it has explained that “the essential function of all

statutes of repose is to abrogate the discovery rule and similar exceptions to the

statute of limitations” and that a “statute of repose, by design, creates a right to

repose precisely where the applicable statute of limitations would be tolled or

deferred.” Methodist Healthcare Sys. v. Rankin, 307 S.W.3d 283, 290 (Tex. 2010)

(explaining further that “a statute of repose serves no purpose unless it has this

effect”); accord Galbraith Eng’g Consultants, Inc. v. Pochucha, 290 S.W.3d 863,

868 (Tex. 2009) (explaining that the purpose of a statute of repose is “the

establishment of a definite end to the potential for liability, unaffected by rules of

discovery or accrual”). The Court thus holds that, despite Plaintiffs’ allegations of

fraudulent concealment, the Texas statute of repose applies.

      In four of the Texas cases, the placement date was pleaded in the short-

form complaint and predates the initiation of the lawsuit by more than 15 years.

See Dkt. No. [709-1] at 14. The cases are therefore subject to the statute of repose,

and the Court thus GRANTS the motion to dismiss with regard to those cases.




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      In the remaining case, however, Defendants’ motion depends not on the

plaintiff’s pleadings but instead on dates appearing in her Plaintiff Fact Sheet.

See Dkt. No. [709-1] at 18 (citing Johnson, No. 1:22-cv-01970-LMM). These dates

would also place the case outside the statute of repose.

      However, it would not be proper to grant the Rule 12(b)(6) motion on this

basis, as such a ruling would require reliance on facts outside the pleadings.

Thus, the Court CONVERTS this portion of the motion to dismiss to a motion

for summary judgment and GRANTS Ms. Johnson 21 days from the entry of

this order to file evidence showing that her placement date in fact falls within

15 years of the date she filed her lawsuit.

          c.    Conclusion

      The motion to dismiss, Dkt. No. [709], is DEFERRED IN PART and

GRANTED IN PART as to the Texas cases appearing in Exhibit 1 of

Defendants’ motion to dismiss, Dkt. No. [709-1] at 14, 18. The motion to dismiss

is CONVERTED to a motion for summary judgment so far as Defendants seek

judgment in Johnson, No. 1:22-cv-01970-LMM based on statements appearing in

that plaintiff’s Plaintiff Fact Sheet. The Court DEFERS ruling on the converted

motion for summary judgment until that plaintiff’s response time has run. The

motion is GRANTED as to the remainder of the Texas cases, Dkt. No. [709-1]

at 14, and those cases shall be DISMISSED as untimely filed.




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       G.        Motion to Dismiss Strict-Liability Claims as Barred by the
                 Statutes of Repose of Georgia and Illinois

       Defendants also argue that Plaintiffs’ strict-liability claims are barred as

untimely under the statutes of repose of the states of Georgia and Illinois. Dkt.

No. [709]. On this basis, they seek an order dismissing the strict-liability claims

from 58 cases under Georgia law, Dkt. No. [709-1] at 3-7, 17, and from 56 cases

under Illinois law, id. at 7-11, 17.9

            1.     Georgia

       Defendants seek the application of Georgia’s 10-year statute of repose for

strict-liability claims based on Plaintiffs’ latest date of Paragard placement. Dkt.

No. [709] at 29-32. They concede that Georgia recognizes “narrow

circumstances” where equitable estoppel may preclude the statute-of-repose

defense where there is “fraud or other conduct on which the plaintiff reasonably

relied in forbearing the bringing of a lawsuit,” but they contend that there are no

such allegations here. Id. at 31-32.

       As previously discussed, the Court finds that Plaintiffs sufficiently allege

fraudulent concealment and raise a plausible inference that the fraud deterred

them from earlier filing. See supra Part III.C. Consequently, the Court DENIES


       9       Defendants had originally moved to dismiss strict-liability claims under
Illinois law in 58 cases and under Georgia law in 59 cases. Thereafter, an Illinois
Plaintiff amended her complaint to drop the claims, and the Court denied the motion as
moot. Ord., Motter v. Teva Pharms. USA, Inc., No. 1:21-cv-4045, ECF No. 21 (N.D. Ga.
Dec. 19, 2024). The Court also subsequently dismissed one of the Illinois cases and one
of the Georgia cases because each of those plaintiffs had already filed another action.
See Hyde v. Teva Pharms. USA, Inc., No. 1:23-cv-00605-LMM, and McKee v. Teva
Pharms. USA, Inc., 1:22-cv-01606-LMM.

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the motion to dismiss the Georgia strict-liability claims on statute-of-repose

grounds.

           2.    Illinois

       Defendants also seek the application of the Illinois eight-year statute of

repose for strict-liability claims based on Plaintiffs’ latest date of Paragard

placement. Dkt. No. [709] at 32-34. They concede that fraudulent concealment

will “toll” a limitations period if the plaintiff shows that fraud prevented

discovery of the cause of action, including “affirmative acts” designed to prevent

discovery of the action. Id. at 33-34. They argue that the pleadings do not meet

this standard. Id.

       Again, the Court has found that Plaintiffs have sufficiently pleaded

fraudulent concealment. The consumer advertising and the marketing to medical

practitioners, in particular, strike the Court as “affirmative acts” designed to

prevent discovery of Plaintiffs’ claims. See supra Part III.C. Thus, the Court also

DENIES the motion to dismiss the Illinois strict-liability claims as barred by the

Illinois statute of repose.

IV.    CONCLUSION

       In accordance with the foregoing, Defendants’ Motion to Dismiss Cases

Barred by Certain Statutes of Limitations and Repose, Dkt. No. [709], is

GRANTED IN PART, DENIED IN PART, and CONVERTED IN PART to

a motion for summary judgment. The Court DEFERS ruling on the motion for

summary judgment at this time.


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      A.     Converted and Deferred Portions of the Motion

The motion to dismiss is CONVERTED to a motion for summary judgment and

DEFERRED as to the following cases. These plaintiffs shall have 21 days from

the entry of this order to file a statement of facts, supported by evidence,

countering Defendants’ motion.

                                                         Choice of Law in
 Plaintiff                          Case No.             Defendant’s Ex. 1
 Look, Katelynn                     1:23-cv-02973        NY
 Rook, Lauren                       1:22-cv-03385        TN
 Wilkes, Temika                     1:23-cv-00139        TN
 Johnson, Brittany                  1:22-cv-01970        TX


      B.     Dismissal of Personal-Injury Claims Only

      The motion to dismiss is GRANTED as to the personal-injury claims

(Counts I-VI, XIII) in the following cases and DENIED as to all other claims

asserted in those cases:

                                                            Choice of Law in
            Plaintiff                   Case No.           Defendant’s Ex. 1
 Foster, Audra                      1:23-cv-04748        ID
 Koncz, Makenzie                    1:23-cv-01414        ID
 McDonald, Spring                   1:22-cv-00455        ID
 Moss, Lyndsie                      1:21-cv-05320        ID
 Thurman, Lacey                     1:22-cv-02088        ID
 Torres, Patricia                   1:23-cv-01710        ID
 Mosley, Venita                     1:22-cv-04140        MS
 Sharp, Rene                        1:21-cv-03115        MS
 Armijo, Marina                     1:22-cv-02497        NY
 Jemiolo, Patricia                  1:22-cv-00464        NY



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      C.    Dismissal of Personal-Injury and Breach-of-Warranty
            Claims

      The motion to dismiss is GRANTED as to the claims for personal injury

(Counts I-VI, XIII) and breach of warranty (Counts X, XI) in the following cases

and DENIED as to all other claims asserted in those cases:

                                                        Choice of Law in
           Plaintiff                  Case No.          Defendant’s Ex. 1
Coats, Kristen                    1:22-cv-03689       AL
Robinson, Kimberly                1:22-cv-03238       AL
Kettler, Amber                    1:23-cv-05990       MS
Acevedo, Anny                     1:23-cv-01656       NY
Austin, Felicia                   1:22-cv-03520       NY
Bones, Luz                        1:22-cv-03021       NY
Carrion, Maritza Frias            1:22-cv-04707       NY
Chin, Hannah                      1:22-cv-03140       NY
Compass, Bettina                  1:23-cv-01659       NY
Coss, Ivonne                      1:22-cv-03152       NY
Cromwell, Emily                   1:21-cv-02857       NY
Dapena, Wilma                     1:23-cv-01738       NY
Dean-Prince, Stacy                1:23-cv-05449       NY
Dorfman, Susan                    1:23-cv-01263       NY
Fernandez, Yanet                  1:23-cv-01024       NY
Glowacz, Patrycja                 1:21-cv-04563       NY
Griffin, Dana                     1:22-cv-03296       NY
Medina, Elizabeth                 1:23-cv-01394       NY
Munson, Rokiea                    1:23-cv-01345       NY
Nagy, Claudia                     1:23-cv-04199       NY
Ng, Sue                           1:22-cv-01581       NY
Nobles, Linda                     1:23-cv-01049       NY
Pahl, Myriah                      1:22-cv-03108       NY
Parra, Lerdy                      1:21-cv-04582       NY
Penrose, Emma                     1:23-cv-01395       NY
Perry, Shara                      1:23-cv-00889       NY

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Pershyn, Carly N                1:21-cv-04733       NY
Price, Khalilah                 1:21-cv-04227       NY
Pulido, Deirdre                 1:22-cv-01543       NY
Ramos, Dahiana                  1:23-cv-01384       NY
Rennie, Karen                   1:21-cv-03626       NY
Ross, Carolyn                   1:22-cv-03222       NY
Small, Deandria L               1:23-cv-01602       NY
Sosa, Magdelyn                  1:22-cv-02614       NY
Thomas, Dionne D.               1:22-cv-00459       NY
Trever, Natasha                 1:22-cv-00082       NY
Velez, Dagmar                   1:22-cv-03236       NY
Visalli, Carissa J              1:23-cv-01601       NY
Wuenst, Kimberly                1:22-cv-02003       NY
Wyatt, Shannon                  1:22-cv-04187       NY
Yerden, Dannielle R             1:23-cv-01389       NY


     D.    Dismissal of all Claims

     The motion to dismiss is GRANTED as to all of the claims in the following

cases. Those cases are DISMISSED WITH PREJUDICE.

                                                     Choice of Law in
            Plaintiff               Case No.         Defendant’s Ex. 1
Carson, Nateshia                1:23-cv-01705       MI
Deising, Tammy S                1:21-cv-03045       MI
Earley, Precious                1:22-cv-02550       MI
Gotham, Bobbie                  1:21-cv-03585       MI
Higgins, Jessica                1:22-cv-01506       MI
Lane, Brenna                    1:22-cv-02499       MI
Levens, Shonte D                1:21-cv-04132       MI
McIntyre, Karina                1:22-cv-03242       MI
Miller, Asia                    1:23-cv-01658       MI
Munger, Gina                    1:22-cv-03146       MI
Nestorak, Jaimie                1:22-cv-03814       MI


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Ott, Cassandra                 1:22-cv-01511      MI
Taylor, Debbie                 1:23-cv-01617      MI
Anderson, Courtney             1:21-cv-03658      VA
Barrett, Angelia               1:23-cv-04012      VA
Collantes, Ana                 1:23-cv-01651      VA
Cook, Annathea                 1:23-cv-01120      VA
Crayton-Gay, Christina         1:23-cv-01262      VA
Deeb, Mazel                    1:23-cv-05156      VA
Durham, Angie                  1:22-cv-01576      VA
Hamel, Mary Elizabeth          1:21-cv-03554      VA
Johnson, Linda                 1:22-cv-00454      VA
Lemus Diaz, Milagros           1:23-cv-00312      VA
McLeod, Rebecca                1:22-cv-03059      VA
Mercado, Lydia                 1:23-cv-01308      VA
Millner, Sharon                1:23-cv-03247      VA
Sarley-Gregory, Nicole         1:22-cv-01586      VA
Vann, Loveasia                 1:22-cv-01290      VA
Vera, Leticia                  1:23-cv-01041      VA
Vetter, Jennifer L             1:23-cv-01407      VA
Burnett, Gerilyn               1:21-cv-02424      TN
Dotson, Tiffany                1:21-cv-04023      TN
Arceneaux, Richandra           1:23-cv-04668      TX
Ferber, Ileana                 1:22-cv-04982      TX
Jerome, Stacy                  1:23-cv-01712      TX
Talbert-Williams, Brandi       1:21-cv-04267      TX


     E.    Denial of Motion to Dismiss as to All Claims

     The motion to dismiss is DENIED in the remaining cases:

                                                     Choice of Law in
            Plaintiff              Case No.         Defendant’s Ex. 1
Fling, Alia E Roberts          1:23-cv-01616      MI
Brandenburg, Michelle          1:23-cv-05020      IA
Garrett, Tela L                1:22-cv-01561      IA

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Lopez Hernandez, Marilu       1:22-cv-01300      IA
Chambers, Carol               1:22-cv-04593      NC
Clayton, Elizabeth            1:21-cv-03810      NC
Connell, Melissa              1:24-cv-00440      NC
Cornelius, Tekila M           1:22-cv-01959      NC
Dominique, Dana               1:21-cv-03786      NC
Doty, Catherine               1:21-cv-03552      NC
Erb, Lisa Pendergrass         1:22-cv-02341      NC
Jones, Sarah L                1:23-cv-01426      NC
Keenan, Aimee                 1:22-cv-03237      NC
Mathis, Latoya                1:23-cv-01693      NC
McLain, Crystal               1:21-cv-03270      NC
Miller, Kenyatta              1:21-cv-03872      NC
Ngoran, Mercy                 1:22-cv-01536      NC
Pollock, Dandan               1:24-cv-00112      NC
Shearer, Courtney             1:22-cv-01574      NC
Spencer, Jennifer             1:23-cv-00440      NC
Strickland, Danielle          1:21-cv-03408      NC
Vidal, Kristina               1:24-cv-01472      NC
Webb, Lasheika                1:22-cv-00624      NC
Weiss, Jane                   1:21-cv-03733      NC
Wohnus, Krystal               1:23-cv-02454      NC
Woodfork, Dorothy             1:23-cv-05299      NC
Abdul, Moori                  1:23-cv-05302      GA
Allen, Michelle               1:23-cv-03206      GA
Anaya, Ana Valenica           1:22-cv-04127      GA
Armstrong, Allison            1:23-cv-01647      GA
Aros, Sabrine                 1:21-cv-04731      GA
Blasingame, Shandral          1:23-cv-00264      GA
Blaylock, La'shara            1:24-cv-01918      GA
Blye, Nikki                   1:24-cv-00534      GA
Brannen, Amy                  1:20-cv-04200      GA
Brown, Tamara                 1:23-cv-02406      GA
Brown, Virona                 1:24-cv-00039      GA
Buffington, Princess          1:23-cv-00370      GA

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Cagley, Jacqueline Bissett     1:22-cv-01744      GA
Cook, Tabitha                  1:21-cv-02867      GA
Coral, Jacqueline              1:21-cv-04699      GA
Crump, Sharon F                1:23-cv-01338      GA
Davenport, Latosha             1:21-cv-03676      GA
Dorsey, Victoria               1:21-cv-00358      GA
Ero, Ruth                      1:23-cv-05157      GA
Francis, Treasure              1:22-cv-01021      GA
Gallardo, Blanca               1:22-cv-04568      GA
Gilmore, Amanda                1:21-cv-04315      GA
Goines, Kimberly               1:23-cv-01332      GA
Goldstein, Nicole              1:23-cv-01708      GA
Gresham, Keesha                1:23-cv-05309      GA
Hadley, Whitney                1:22-cv-01029      GA
Harger, Harley                 1:22-cv-01546      GA
Hill, Lauren                   1:23-cv-05276      GA
Hopkins, Frances               1:22-cv-01512      GA
Kamuleta, Mamyna               1:23-cv-02396      GA
Lewis, Allison                 1:20-cv-03942      GA
Lish, Stephanie                1:24-cv-00892      GA
Major, Jonzoreika              1:22-cv-02682      GA
McKee, Faatimah                1:21-cv-04908      GA
Medina, Ashley                 1:22-cv-00083      GA
Meunier, Lollie                1:22-cv-03287      GA
Millsaps, Brianna              1:22-cv-01562      GA
Mooney, Jessica                1:23-cv-01604      GA
Musick-Graham, Melanie         1:23-cv-00422      GA
Nasser, Lindsey                1:23-cv-00757      GA
Overton, Shannon               1:21-cv-04414      GA
Owensby, Sherita               1:22-cv-00421      GA
Paz, Karen                     1:23-cv-01605      GA
Pullin, Dana Christine         1:23-cv-05662      GA
Rawls-Sanders, Jennifer        1:21-cv-01420      GA
Redmond, Saqirah               1:21-cv-03940      GA
Reed, Rebecca                  1:22-cv-04988      GA

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Regan, Wendy                  1:24-cv-02317      GA
Rodriguez, Patricia           1:20-cv-03945      GA
Rynex, Kristen                1:22-cv-01910      GA
Scott, Lakeisha               1:22-cv-00080      GA
Shah, Gayatri                 1:24-cv-01693      GA
Shorey, Carrie                1:23-cv-05158      GA
Taylor, Monica                1:22-cv-02900      GA
Thomason, Tara                1:23-cv-01699      GA
Thompson, Kiera               1:21-cv-04239      GA
Wheeler, Tiffany N            1:22-cv-01563      GA
Wilson, Sabrina               1:23-cv-05155      GA
Abraham, Elina                1:22-cv-04465      IL
Ahlfeld, Julie                1:23-cv-05256      IL
Alvarez, Esther               1:22-cv-00788      IL
Amos, Sarah                   1:21-cv-04199      IL
Bade, Purevbadam Makhburiad   1:23-cv-02469      IL
Barba, Monica                 1:22-cv-00724      IL
Bell-Powell, Akyva            1:22-cv-05077      IL
Billups, Latrice              1:22-cv-05078      IL
Bjorgo, Lindsey               1:24-cv-00341      IL
Brewer, Tanisha               1:21-cv-04204      IL
Coleman, Charlena             1:22-cv-04624      IL
Colunga, Stephany             1:23-cv-01336      IL
Craft, April                  1:23-cv-02008      IL
Day, Reuvean                  1:22-cv-00274      IL
Diaz, Marilina                1:23-cv-01700      IL
Dunn, Rene                    1:23-cv-02630      IL
Eberley, Amanda               1:22-cv-02493      IL
Edgecomb, Angela              1:23-cv-00846      IL
Farr, Bernadette              1:23-cv-00845      IL
Fausto, Rocio                 1:23-cv-00698      IL
Flores, Carla                 1:23-cv-03842      IL
Freeman, Megan                1:23-cv-02990      IL
Gomez, Vanessa                1:22-cv-01636      IL
Graye, Stephanie              1:23-cv-00861      IL

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Haefelin, Margi               1:22-cv-03812      IL
Hernandez, Elizabeth C        1:23-cv-02125      IL
Hyde, Angelika                1:21-cv-04217      IL
Jackson, Latrice              1:23-cv-00135      IL
Jackson, Winter               1:23-cv-01012      IL
Johnson, Sabrina              1:22-cv-00766      IL
Karabetsos, Nicole            1:24-cv-01617      IL
Kwitkowski, Jennifer          1:23-cv-03648      IL
Lee, Jessica                  1:21-cv-00132      IL
Leonard, Romina               1:23-cv-04258      IL
Lewerenz, Samantha            1:22-cv-02495      IL
Lusk, Christi                 1:21-cv-04222      IL
Magana, Joann                 1:24-cv-02319      IL
Mascenic, Jessica             1:23-cv-01242      IL
McDonald, Tondelya            1:23-cv-05301      IL
McKeown, Ann                  1:21-cv-05188      IL
McKinney, Amara               1:23-cv-04373      IL
Miranda, Joanna               1:21-cv-02704      IL
Moran, Amy                    1:22-cv-01052      IL
Norman, Angela                1:23-cv-04571      IL
Osorio, Janeth                1:24-cv-00305      IL
Parker, Tresha                1:23-cv-00006      IL
Piotrowski, Stephanie         1:23-cv-02009      IL
Radnick, Margaret             1:21-cv-01186      IL
Reed, Calli                   1:21-cv-05066      IL
Rosenberg, Maren              1:22-cv-00901      IL
Roundebush, Randy             1:22-cv-01288      IL
Smith, Amy                    1:22-cv-03536      IL
Tow, Kayla K.                 1:21-cv-00576      IL
Westrick, Jean                1:23-cv-05013      IL
Wilson, Tyshira               1:23-cv-04084      IL
Yates, Haleigh                1:22-cv-00361      IL




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      The Clerk is DIRECTED to terminate the submission of the motion to

dismiss in all cases other than those where the motion has been converted to a

motion for summary judgment.

      IT IS SO ORDERED this 11th day of February, 2025.


                                     _____________________________
                                     Leigh Martin May
                                     United States District Judge




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